                    Case: 3:14-cr-00273-JGC Doc #: 466 Filed: 09/23/15 1 of 7. PageID #: 3344
AO 245B        (Rev. 09/11) Judgment in a Criminal Case
               6KHHW



                                            81,7('67$7(6',675,&7&2857
                                                          NORTHERN DISTRICT OF OHIO                                          AMENDED
              81,7('67$7(62)$0(5,&$                                                   JUDGMENT IN A CRIMINAL CASE
                                    v.
                           Federico Perez                                                &DVH1XPEHU 3:14-cr-00273-6
                                                                                         8601XPEHU                      60402-060
                                                                                          Adrian P. Cimerman
                                                                                         'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                        to Count 1 of the indictment.
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
   ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
   DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                     Nature of Offense                                                                            Offense Ended                           Count

 21:841(a)(1),(b)(1)(A),(b)(1)(B)    Conspiracy to Possess with Intent to Distribute Heroin, Cocaine & Marijuan                     8/19/2014                             1

 (b)(1)(B),(b)(1)(C) and 846




   See additional count(s) on page 2


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 7                 RIWKLVMXGJPHQW The sentence is impRVHGSXUVXDQWWo the
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
✔&RXQW V
G                19,22 and 14                               G LV      G DUHdismiVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDmeUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG If RUGHUHGWRSD\UHVWLWXWLRQ
                                                                                                                            
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                              09/21/2015
                                                                               'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                             s/James G. Carr
                                                                              Signature of Judge


                                                                              James G. Carr                            Sr. U.S. District Judge
                                                                               1DPHRI-XGJH7LWOHRI-XGJH


                                                                              09/23/2015
                                                                               'DWH
                  Case: 3:14-cr-00273-JGC Doc #: 466 Filed: 09/23/15 2 of 7. PageID #: 3345
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             6KHHW²,PSULVRQPHQW

                                                                                                                     Judgment Page: 2 of 7
  '()(1'$17 Federico Perez
  &$6(180%(5 3:14-cr-00273-6


                                                                 IMPRISONMENT

           7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
  WRWDOWHUPRI
   60 Months




      ✔
      G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
  The Court recommends that the defendant be housed at Milan FCI, Milan, Michigan




      ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
      G

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G DW                                          G DP      G SP        RQ

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
          G EHIRUH               RQ

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
          G DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                       RETURN
  ,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                              WR

  D                                                      ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                         81,7('67$7(60$56+$/


                                                                               %\
                                                                                                      '(387<81,7('67$7(60$56+$/
                        Case: 3:14-cr-00273-JGC Doc #: 466 Filed: 09/23/15 3 of 7. PageID #: 3346
   AO 245B        (Rev. 09/11) Judgment in a Criminal Case
                  6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                                                     Judgment Page: 3 of 7
                                                                                                               
    '()(1'$17 Federico Perez
    &$6(180%(5 3:14-cr-00273-6
                                                              SUPERVISED RELEASE
    8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI
                   four years


            7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFW WRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVH
                                                                                                                                          IURPWKH
    FXVWRG\RIWKH%XUHDXRI3ULVRQV
    7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
    7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
    VXEVWDQFHThe defendant shall submitRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
    WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
    G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
           IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
    ✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
    G
    ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
    G

    G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
      DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
           ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

    G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
            ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
    6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
             7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDW haYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQal FRQGLWLRQV
                                                                                                                                          
    RQWKHDWWDFKHGSDJH

                                             STANDARD CONDITIONS OF SUPERVISION
            WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUW
             RUWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
            WKHGHIHQGDQWVKDOO comply with the Northern District of Ohio Offender Employment Policy which may include participation in
             training, education, counseling and/or daily job search as directed by the pretrial services and probation officer. If not in compliance
             with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be directed to perform
             up to 20 hours of community service per week until employed, as approved or directed by the pretrial services and probation officer.
            WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
            WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
             FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
            WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
            WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
             IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
      ) tKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW \WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
            WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPeQWWRDFWDVDQ iQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRXtWKH
              SHUPLVVLRQRIWKHFRXUWDQG

           DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
             UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPiWWK HSUREDWLRQRIILFHUWRPaNHVXFKQRtLILFDWLRQVDQGWRFRQILUP WKH
             GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
"Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision. These conditions have been read to me. I fully understand the conditions and have been provided a copy
of them."
Dated:_____________________                   ________________________________________                   ________________________________________
                                               Defendant                                                 U.S. Probation Officer
                Case: 3:14-cr-00273-JGC Doc #: 466 Filed: 09/23/15 4 of 7. PageID #: 3347
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                                                                                                     Judgment Page: 4 of 7
 '()(1'$17 Federico Perez
 &$6(180%(5 3:14-cr-00273-6

                                        SPECIAL CONDITIONS OF SUPERVISION
  General Educational Development (GED)
  The defendant shall enter an adult program and work toward obtaining a General Educational
  Development (GED) diploma at the discretion of the U.S. Pretrial Services & Probation Officer.

  Financial Disclosure
  The defendant shall provide the U.S. Pretrial Services & Probation Officer with access to any
  requested financial information.


  Substance Abuse Treatment and Testing
  The defendant shall participate in an approved program of substance abuse testing and/or
  outpatient or inpatient substance abuse treatment as directed by their supervising officer; and
  abide by the rules of the treatment program. The defendant shall not obstruct or attempt to
  obstruct or tamper, in any fashion, with the efficiency and accuracy of any prohibited substance
  testing.


  Search and Seizure
  The defendant shall submit his person, residence, place of business, computer, or vehicle to a
  warrantless search, conducted and controlled by the probation officer at a reasonable time and in
  a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation
  of a condition of release; failure to submit to a search may be grounds for revocation; the
  defendant shall inform any other residents that the premises may be subject to a search pursuant
  to this condition.
                  Case: 3:14-cr-00273-JGC Doc #: 466 Filed: 09/23/15 5 of 7. PageID #: 3348
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
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                                                                                                                   Judgment Page: 5 of 7
 '()(1'$17 Federico Perez
 &$6(180%(5 3:14-cr-00273-6
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                       Assessment                                      Fine                                       Restitution
 TOTALS            $ 100.00                                          $ 0.00                                 $ 0.00


 G7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO$QAmended Judgement in a Criminal Case (AO 245C) ZLOOEHHQWHUHG
     DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
     ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
     WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPsPXVWEHSDLG
     EHIRUHWKH8QLWHG6WDWHVLVSDLG

 Name of Payee                                                    Total Loss*                Restitution Ordered            Priority or Percentage




TOTALS                                                                              $0.00                           $0.00
      See page 5A for additional criminal monetary conditions.
G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH          G ILQH     G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH          G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRr RIIHQVHVFRPPLWWHGRQRUDIWHU
                                                                                                                 
6HSWHPEHUEXWEHIRUH$SULO
                  Case: 3:14-cr-00273-JGC Doc #: 466 Filed: 09/23/15 6 of 7. PageID #: 3349
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
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                                                                                                                              Judgment Page: 6 of 7
'()(1'$17 Federico Perez
&$6(180%(5 3:14-cr-00273-6

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

A    G /XPSVXPSD\PHQWRI                                   GXHLPPHGLDWHO\EDODQFHGXH

          G      QRWODWHUWKDQ                                       RU
          G      LQDFFRUGDQFH          G &        G '        G       (RU     G )EHORZRU
B    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                      G &       G 'RU       G )EHORZ RU
C    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
          WHUPRIVXSHUYLVLRQRU

E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                    (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
          LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G
           ✔                             100.00
           [ ] A special assessment of $ ___                                                     one.
                                                      is due in full immediately as to count(s) ___________________________________.
            Mailed payments are to be sent and made payable to the Clerk, U.S. District Court, 801 West Superior Ave., Cleveland, OH 44113-1830.

           [ ] After the defendant is released from imprisonment, and within 30 days of the commencement of the term of supervised release, the probation
           officer shall recommend a revised payment schedule to the Court to satisfy any unpaid balance of the restitution. The Court will enter an order
           establishing a schedule of payments.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMudgmeQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
LPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHpW WKRVH SD\PHQWVP DGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPaWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



G -RLQWDQG6HYHUDO
     'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
G 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV



3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
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                        7KLVSDJHLQWHQWLRQDOO\OHIWEODQN
